Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 1 of 35 Page ID #:902



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13                              UNITED STATES DISTRICT COURT

14                                    FOR THE CENTRAL

15                                 DISTRICT OF CALIFORNIA

16
17
     MOSSACK FONSECA & CO., S.A,                 Case No: 2:19-cv-09330-CBM-AS
18   BUFETE MF & CO., JÜRGEN
     MOSSACK and RAMÓN FONSECA
19                                               PLAINTIFFS MOSSACK FONSECA
                  Plaintiffs,                    CO., S.A., BUFFET MF & CO;
20                                               JÜRGEN MOSSACK; AND RAMÓN
             v.                                  FONSECA’S OPPOSITION TO
21                                               DEFENDANT NETFLIX’S MOTION
     NETFLIX INC.,                               FOR JUDGMENT ON THE
22                                               PLEADINGS PURSUANT TO FRCP
                  Defendant.                     12(C)
23
                                                 Hearing Date: August 18, 2020
24
                                                 Hearing Time: 10:00 a.m.
25
26
           PLAINTIFFS, by and through their counsel of record Richard G. Novak and
27
     Stephan Seeger, hereby file their Opposition to Defendant's Motion for Judgment on the
28

                                                 1
             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 2 of 35 Page ID #:903




 1   Pleadings Pursuant to FRCP 12(c).
 2         The Opposition is based upon the attached memorandum of points and
 3   authorities, all files and records in this case, and such further information as may be
 4   provided to the Court.
 5
 6                                          Respectfully submitted,
 7
     DATED: July 12, 2020                   Law Offices of Richard G. Novak
 8
 9
                                                By: /s/ Richard G. Novak
10
                                                    RICHARD G. NOVAK
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12                                                  BUFFET MF & CO; JÜRGEN
                                                    MOSSACK; RAMÓN FONSECA
13
14   DATED: July 12, 2020                   Law Offices Stephen J. Carriero
15
16
                                                By: /s/ Stephan Seeger
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17                                                   Attorneys for Plaintiffs
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18                                                   BUFFET MF & CO; JÜRGEN
                                                     MOSSACK; RAMÓN FONSECA
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             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 3 of 35 Page ID #:904




 1                                               TABLE OF CONTENTS
 2   TABLE OF AUTHORITIES .......................................................................................... iii
 3   I.      INTRODUCTION ................................................................................................. 1
 4   II.     STATEMENT OF FACTS .................................................................................... 1
 5           A.      Plaintiffs Business Model and Future Plans ............................................... 1
 6           B.      Trademarked Logos and Treaty Status ....................................................... 2
 7           C.      The Hack and Resulting Panama Papers Scandal ....................................... 4
 8           D.      “The Laundromat: Trailer and Movie Use of the Logo ............................. 5
 9   III.    LAW AND ARGUMENT..................................................................................... 9
10           A.      Legal Standards ........................................................................................... 9
11                   i. Standards upon 12(c) Motion for Judgment on Pleadings .................... 9
12                   ii. Defendant’s Memorandum Introduces Extrinsic Evidence ................. 12
13                   iii. Plaintiffs Should Be Afforded Discovery and/or the SAC Can Be
14                        Amended to Address any Insufficiency in the Pleadings .................... 12
15           B.      Claims in Count IV and V are Properly .................................................... 13
16                   i. Plaintiffs Can Establish Trademark Dilution Alleged in Count
17                        Four ...................................................................................................... 13
18                        (a) Elements of Dilution by Tarnishment ............................................ 13
19                        (b) Inter American Convention; Foreign Marks and “famousness” .... 15
20                        (c) Defendant’s other Trademark Defenses Are Untenable ................. 19
21                            1. Disclaimer Is Insufficient and Used Inconsistently ................... 19
22                            2. Defendants are Using the Plaintiff's Logo as a Trademark ....... 20
23                            3. “Non-Commercial” Use Is not Raised in the Defendant’s
24                                 Answer ....................................................................................... 21
25                            4. Defendant’s “Road Kill” Theory of Damages Is not Rooted
26                                 in Reality .................................................................................... 21
27                   ii. Plaintiffs Can Prevail on their Federal False Advertising Claim ........ 23
28

                                                                    i
               PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 4 of 35 Page ID #:905




 1                       (a) Elements of Plaintiffs’ False Advertising Claim are
 2                           Established ...................................................................................... 23
 3                       (b) Defendant’s Rogers Argument Is Unavailing ................................ 24
 4   III.   CONCLUSION ................................................................................................... 28
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                                 ii
              PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 5 of 35 Page ID #:906




 1                                                 TABLE OF AUTHORITIES
 2
     Cases
 3
     Arc Ecology v. United States Dep't of the Air Force, 411 F.3d 1092 (9th Cir. 2005) ... 10
 4
     Ashcroft v. Iqbal, 556 U.S. 662 (2009) ........................................................................... 10
 5
     Au-Tomotive Gold, Inc. v. Volkswagen of America, Inc., 457 F.3d 1062 (9th Cir. 2006)
 6     ..................................................................................................................................... 20
 7   Bacardi Corp. of America v. Domenech, 311 U.S.150 (1940) ....................................... 16
 8   Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) ..................................................... 10, 11
 9   British-American Tobacco Co. Ltd. v. Philip Morris Inc., 55 U.S.P.Q.2d 1585, 2000
       WL 1005433 (T.T.A.B. 2000) .................................................................................... 16
10
     Cardio-Medical Associates, Ltd. v. Crozer-Chester Medical Center, 536 F. Supp. 1065
11     (E.D. Pa. 1982) ............................................................................................................ 10
12   Carson Harbor Village Ltd. v. City of Carson, 37 F.3d 468 (9th Cir. 1994) ................. 10
13   Celotex Corp. v. Catrett, 477 U.S. 317 (1986) ............................................................... 12
14   Central Hudson Gas & Elec. Corp. v. Public Serv. Comm'n of N.Y., 447 U.S. 557, 100
       S. Ct. 2343, 65 L. Ed. 2d 341 (1980) .......................................................................... 24
15
     CYBERsitter, LLC v. Google Inc., 905 F. Supp. 2d 1080 (C.D. Cal. 2012)................... 10
16
     Dworkin v. Hustler Magazine Inc., 867 F.2d 1188 (9th Cir. 1989) ............................... 11
17
     Fairfield County Medical Assoc., v. United Healthcare of New England, 985 F. Supp.
18     2d 262 (D. Conn. 2013) .............................................................................................. 22
19   Gonzalez v. Law Office of Allen Robert King, 195 F. Supp. 3d 1118 (C.D. Cal. 2016) .. 9
20   Gordon v. Drape Creative, Inc., 897 F.3d 1184 (9th Cir. 2018).................................... 25

21   Gordon v. Drape Creative, Inc., 909 F.3d 257, 270 (9th Cir. 2018).................. 25, 26, 27
     Grupo Gigante SA De CV v. Dallo & Co., Inc., 391 F.3d 1088 (9th Cir. 2004) 17, 18, 19
22
     Hal Roach Studios, Inc. v. Richard Feiner & Co., 896 F.2d 1542 (9th Cir. 1989).......... 9
23
     Havana Club Holding, S.A. v. Galleon, S.A., 62 F. Supp. 2d 1085 (S.D.N.Y. 1999) ... 16
24
     Jada Toys, Inc. v. Mattel, Inc., 518 F.3d 628 (9th Cir. 2008) ........................................ 13
25
     Kythera Biopharmaceuticals, Inc. v. Lithera, Inc., 998 F. Supp. 2d 890 (C.D. Cal. 2014)
26     ................................................................................................................................. 9, 10
27   Levi Strauss & Co. Abercrombie & Fitch Trading Co., 633 F.3d 1158 (9th Cir. 2011) 13
28   Lopez Reyes v. Kenosian & Miele, LLP, 525 F. Supp. 2d 1158 (N.D. Cal. 2007)........... 9

                                                                        iii
                 PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 6 of 35 Page ID #:907




 1   Marrero v. Patterson, 2018 WL 4207261 (N.D. Cal. Sept. 4, 2018)............................... 9
     Moran v. Peralta Cmty. Coll. Dist., 825 F. Supp. 891 (N.D. Cal. 1993) ....................... 11
 2
     Mostowy v. United States, 966 F.2d 668 (Fed. Cir. 1992) ............................................. 10
 3
     Multi–Channel TV Cable Co. v. Charlottesville Quality Cable Operating Co., 22 F.3d
 4    546 (4th Cir. 1994) ...................................................................................................... 22
 5   Nat’l Wildlife Fed’n v. Espy, 45 F.3d 1337 (9th Cir. 1995) ........................................... 10
 6   Nissan Fire & Marine Ins. Co. v. Fritz Cos., 210 F.3d 1099 (9th Cir. 2000) ................ 12
 7   Nissan Motor Co. v. Nissan Computer Corp., 378 F.3d 1002 (9th Cir. 2004) .............. 13
 8   Pac. W. Group, Inc. v. Real Time Solutions, 321 Fed. Appx. 566 (9th Cir. 2008) ........ 11
 9   Panavision Int'l L.P. v. Toeppen, 141 F.3d 1316 (9th Cir.1998) ................................... 21
     Parks v LaFace Records, 329 F. 3d 437 (6th Cir. 2003)................................................ 25
10
     Planned Parenthood of Minnesota, Inc. v. Citizens for Community Action, 558 F.2d 861
11
       (8th Cir. 1977) ............................................................................................................. 22
12   Rogers v. Grimaldi, 875 F.2d 994 (2d Cir. 1989) ........................................ 24, 25, 26, 27
13   Spann v. J.C. Penney Corp., No. SA CV 12-0215 FMO, 2015 WL 1526590 (C.D. Cal.
14     Mar. 17, 2015) ............................................................................................................. 10

15
     Stouffer v. Nat’l Geographic Partners, et. al., 400 F. Supp. 3d 1161 (D. Colo. 2019) 25,
       26, 27
16
     Swierkiewicz v. Sorema N.A., 534 U.S. 506 (2002) ......................................................... 9
17   Tatung Co. v. Shu Tze Hsu, 43 F. Supp. 3d 1036 (C.D. Cal. 2014) ............................... 13
18   Toho Co. v. Sears, Roebuck & Co., 645 F.2d 788 (9th Cir. 1981) ..................... 14, 20, 21
19   United States v. Corinthian Colleges, 655 F.3d 984 (9th Cir. 2011) ............................. 13
20   United States v. White, 893 F. Supp. 1423 (C.D. Cal. 1995) ........................................... 9
21   Statutes
22   15 U.S.C. § 1125(a) ........................................................................................................ 23
23   15 U.S.C. § 1125(c)(1).................................................................................................... 20
     15 U.S.C. § 1125(c)(2)(c) ......................................................................................... 14, 20
24
     15 U.S.C. § 1126 (2000) ................................................................................................. 17
25
     15 U.S.C. § 1127 ............................................................................................................. 20
26
     The Lanham Act ...................................................................................................... passim
27
28

                                                                     iv
                 PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 7 of 35 Page ID #:908




 1   Other Authorities
     1929 General Inter-American Convention for Trade Mark and Commercial Protection
 2
       .............................................................................................................................. passim
 3   5C Wright & Miller, Federal Practice and Procedure § 1367 (3rd ed. 2004) ................ 12
 4   Rules
 5   Fed. R. Civ. P. 12(b) ....................................................................................................... 12
 6   Fed. R. Civ. P. 12(b)(6) ........................................................................................ 9, 10, 11
 7   Fed. R. Civ. P. 12(c) ..................................................................................... 10, 11, 12, 21
 8   Fed. R. Civ. P. 12(d) ....................................................................................................... 11
 9   Fed. R. Civ. P. 56 ................................................................................................ 11, 12, 19
     Fed. R. Civ. P. 56(c) ....................................................................................................... 12
10
     Constitutional Provisions
11
     U.S. Const. Amend. I .................................................................................... 24, 25, 26, 27
12
13
14
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                                                                       v
                 PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 8 of 35 Page ID #:909




 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2
 3         Plaintiffs MOSSACK FONSECA CO., S.A. (“MFSA”), BUFFET MF & CO.
 4   (“MF”), JÜRGEN MOSSACK (“MOSSACK”) and RAMÓN FONSECA
 5   (“FONSECA”), hereinafter collectively referred to as “MFGROUP,” respectfully
 6   submit this Memorandum of Law in support of their Opposition to Defendant Netflix’s
 7   Motion for Judgment on the Pleadings pursuant to FRCP 12(c), and respectfully request
 8   this Court to deny Defendant’s Motion as the same pertains respectively to the Fourth
 9   and Fifth Counts of the Second Amended Complaint (hereinafter “SAC”), sounding in
10   trademark dilution and federal false advertising under the Lanham Act.
11   I.    INTRODUCTION
12         In its movie “The Laundromat,” the Defendant defames and portrays the
13   Plaintiffs as flamboyant lawyers involved in money laundering, tax evasion, bribery
14   and/or other criminal conduct; in the process, the Defendant also disparages and dilutes
15   the Plaintiffs’ logo absent permission, license and/or other authority, and for no
16   necessary or colorable artistic purpose and/or constitutional benefit of expression.
17   The Defendant places the logo in its trailer and movie scenes where viewers easily
18   associate the Plaintiffs’ protected intellectual property with serious criminal and
19   unethical behavior. Academy award winner Gary Oldman plays Plaintiff, MOSSACK,
20   and acclaimed actor Antonio Banderas plays Plaintiff, FONSECA, both of whose real
21   names are used in the film. (SAC ¶ 2).
22   II.   STATEMENT OF FACTS
23         A.     Plaintiffs Business Model and Future Plans
24         MFGROUP were primarily engaged in the business of forming and maintaining
25   offshore companies (hereinafter “products”) for law firms, accountants and/or other
26   institutional/professional clientele (hereinafter “original clients”); they purchased the
27   products for use by their own independent and separate clients. While MFGROUP
28   sold these products in Panama and other “tax haven” countries, it did not counsel,
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             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 9 of 35 Page ID #:910




 1   advise and/or provide legal advice to the ultimate end users of the products (hereinafter
 2   “UEUs”). For over 42 years MFGROUP built a reputation of trust and
 3   professionalism and became well-known worldwide leaders in offshore corporate
 4   formation and maintenance. During this time of industry prominence, MFGROUP
 5   generated significant profits by organizing and selling offshore companies, and
 6   charging fees for related corporate services including maintenance, annual filings and
 7   other compliance related services. To be sure, MFGROUP expended significant
 8   monies on client development, branding, and marketing its products worldwide, via
 9   sponsorship, advertising, community activism, conferencing, charity and/or public
10   service. (Id. ¶¶ 27-34).
11         B.     Trademarked Logos and Treaty Status
12         In an effort to develop its brand, MFSA caused logos to be registered in various
13   jurisdictions including Panama, the European Union, and Colombia, the same having
14   been used in commerce worldwide and having generated significant notoriety and fame.
15   (Id. ¶ 35). In efforts to expand the brand, attract business, generate and maintain
16   goodwill and name recognition, MFSA secured and continues to enjoy the protections
17   of its trademarked logos in the Country of Colombia, to wit:
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23   duly registered with the Superintendencia Industria y Comercio, Republic of Colombia,
24   including (1) Expediente No. 10-053693 – Certificado de Registro 412048, (2)
25   Expediente No. 10-053705 – Certificado de Registro 412052, and (3) Expediente No.
26   10-053702 – Certificado de Registro 412051. (Id. ¶ 36 & Affidavit of Arthur Ventura
27   Jr. ¶ 22 (Ex. 1 to Plaintiff’s Verified Complaint) (hereinafter “Ventura Affidavit”)).
28   Ultimately, MFGROUP invested significant time, energy, and funds, developing both
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             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 10 of 35 Page ID #:911




 1   their individual and corporate reputations. (Id. ¶ 38). Even over the last several years,
 2   MFSA expended many thousands of dollars purchasing items bearing its logo for use in
 3   branding and worldwide marketing/advertising of its products and services. (Id. ¶ 37;
 4   see also Affidavit of Arthur Ventura Jr. ¶ 22).
 5         JÜRGEN MOSSACK and RAMÓN FONSECA, promoted their company
 6   products and contributed to the enhancement of the offshore industry by, inter alia,
 7   participating in forums, holding/sponsoring seminars, accepting speaking engagements,
 8   advising government officials, participating in charities, and maintaining membership in
 9   groups such as the Chamber of Commerce and Rotary Club. (SAC ¶ 39).
10   MFGROUP’s involvement in community affairs, industry development, charitable
11   works, and government advisement, enhanced and elevated MFGROUP’s reputation
12   both locally and worldwide; as lawyers and law firms MFGROUP enjoyed healthy
13   and stellar reputations and at all material times planned to expand further into the
14   industry and cultivate business opportunities throughout the world in future, using its
15   brand and the group’s collective reputations. (Id. ¶¶ 40-41).
16         As a further component of their expansion plans, MF and/or MFSA entered into
17   contracts with independent contractor representatives in many countries around the
18   world (hereinafter “Representatives”), including, but not limited to, the United
19   Kingdom, Czech Republic, Switzerland, Peru, Ecuador, Brazil, Singapore, Cyprus,
20   Israel, Dubai, Thailand, Guatemala, Chile, and the United States of America (Florida).
21   (Id. ¶ 42). Representatives were independent contractors separate and apart from MF
22   and/or MFSA, who were permitted exclusive rights to purchase and thereafter sell MF
23   and/or MFSA’s products and services, to newly acquired and/or existing MFGROUP
24   original clients within specified jurisdictions, in exchange for fees and/or specified
25   commissions agreed to between the parties. (Id. ¶ 43). They were permitted to use
26   variations of the MFGROUP names, along with MFSA’s logos in conducting and
27   developing their own businesses. (Id. ¶ 44). Representative contracts generated
28   significant income: using MFGROUP names and logos, Representatives facilitated
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             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 11 of 35 Page ID #:912




 1   MFGROUP’s branding efforts internationally and enhanced its worldwide reputation.
 2   (Id. ¶¶ 47-48). In short, MFGROUP invested heavily in branding its products and
 3   trademarked a logo in connection therewith based upon important profit maximizing
 4   business considerations.
 5         C.     The Hack and Resulting Panama Papers Scandal
 6         In 2015, an anonymous whistleblower hacked 11.5 million MFGROUP
 7   attorney-client privileged documents, and then sent the stolen documents to German
 8   journalist Bastian Obermayer at the Suddeutsche Zeitung. These documents,
 9   commonly referred to as the “Panama Papers,” purportedly included information about
10   many rich and famous people in both the private and public sectors, and made reference
11   to over two-hundred-thousand (200,000) offshore entities created by Plaintiffs and/or
12   any of them. (Id. ¶¶ 49-50). The hack is notoriously referred to as the “Panama
13   Papers” scandal. The “hack and release” information confirmed that only an
14   “extremely minute” percentage of offshore corporations created by MF and/or MFSA
15   appeared to have been utilized by some UEUs for criminal activity including, but not
16   limited to, money laundering, tax evasion, bribery and/or fraud. (Id. ¶ 53). Contrary to
17   the Defendant’s assertion that the Plaintiffs acknowledged “some number” of such uses
18   (See Def’s Motion for Judgment on the Pleadings Pursuant to 12(c) at p. 3, ll. 2-5
19   (hereinafter cited as “Def’’s Brief”)), Plaintiffs have cited an “extremely minute”
20   number that were only “apparently utilized” specifically by UEUs. (SAC ¶ 53).
21   Significantly, none were “clients” of MFGROUP. The “skip over” of this point by
22   Defendant in its memorandum is consistent with the Defendant’s failure to perceive
23   why its movie is replete with criminal innuendo. The film’s innuendo and implications
24   converge to suggest that these lawyers/law-firms were catering to criminal “clients” and
25   facilitating illegal activities. In fact, MFGROUP catered to original
26   professional/institutional clients only and not UEUs. (See generally SAC ¶¶ 27-31).
27         Based upon the Panama Papers, author Jake Bernstein wrote a book called
28   “Secrecy World.” While he writes a book about offshore companies and banking
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             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 12 of 35 Page ID #:913




 1   systems and the Plaintiffs acknowledge speaking to him, there was no collaboration
 2   between the author and Plaintiffs as suggested by the Defendant in its memorandum
 3   (Def’s Brief, p. 3). Moreover, any interviewing was clearly about his “book” and not
 4   the Defendant’s trailer or movie based on the book, which are the relevant subject
 5   matters of this case. The fact that Bernstein spoke to the Plaintiffs or texted them is
 6   utterly immaterial to whether the Defendant defamed them, or wrongfully diluted their
 7   trademarked logo. He was not given authority or permission to use the likeness of
 8   either MOSSACK or FONSECA in his book, and certainly did not have an agreement
 9   pertaining to the use of their images and personalities in the Defendant’s movie.
10   Likewise, with respect to the Plaintiffs’ intellectual property. Most assuredly, nobody
11   was given permission to defame the Plaintiffs regardless of whether Plaintiffs ever
12   spoke or complained to Bernstein. This is all irrelevant to the issue at hand, and
13   Bernstein’s interest in supporting the Defendant is not surprising; there can be little
14   doubt that he has a monetary interest, possibly even a legal interest, in defending
15   NETFLIX against the Plaintiffs’ libel and libel per se claims.
16         D.     “The Laundromat: Trailer and Movie Use of the Logo
17         The trailer at https://www.youtube.com/watch?v=wuBRcfe4bSo, contains
18   opening clips stating the movie is “based on some real shit” and several screens appear
19   asking the question “how do 15 million millionaires in 200 countries stay rich . . .
20   [answer] with lawyers like these,” followed by a screen shot of Oldman and Banderas
21   portraying MOSSACK and FONSECA as antagonist villains dressed in flashy
22   tuxedos. Famous academy award winning actress Meryl Streep, playing recently
23   widowed Ellen Martin who lost her beloved husband on a fall boat tour, is portrayed as
24   the film’s main protagonist pursuing justice after being told by her own lawyer that her
25   de minimis settlement with a tour operator was related to a recent change in her insurer.
26   Essentially, her new offshore insurance company was defunct, if it ever existed, and
27   Streep’s actor lawyer states “so there is confusion over who has to pay.”
28         The trailer, like others designed to attract future moviegoers and boost sales,
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             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 13 of 35 Page ID #:914




 1   follows the “confusion” comment with Ellen responding to the lawyer: “so they drown
 2   you and 20 twenty other innocent people,” while another background voice adds “and
 3   somebody’s making money off it.” The dialogue spans clips of Streep mourning at a
 4   funeral, then reverting back to her lawyer’s office where she is given her settlement
 5   check and told by her lawyer: “and it all goes back to this law firm Mossack Fonseca.”
 6   Shortly thereafter there is a clip depicting Streep and her in-film daughter pushing a cart
 7   in a grocery store, providing the functional equivalent of an answer to what exactly all
 8   goes back to this law firm: namely, “bribery, corruption, money laundering, millions
 9   and millions and millions of dollars,” as the scene pans away to a clip showing a
10   “download” of hacked “Panama papers” in progress at “508, 905” of “11, 528, 218.”
11   Of course, the files being downloaded are the notorious 11.5 million hacked documents
12   that became the “Panama Papers.” Clearly, the script is designed to associate the
13   Plaintiffs with the crimes mentioned only seconds before.
14         The very famous “download” frames are followed by Banderas being bombarded
15   with ringing and beeping of multiple phones. Immediately thereafter, other clips of
16   people apparently connected to offshore accounts through the law firm of Mossack
17   Fonseca exclaim “shit” and/or other expletives in different languages, including an
18   English speaking lady at a bar, a gentlemen dressed in garb resembling a Sheik, two
19   Russian gangsters, and the wife of a Chinese politician driving by some soldiers. The
20   clear implication is that all of these people are associated with criminal activity, and the
21   Plaintiffs have been “outed” in the “hack and release” of the firm’s confidential client
22   information. The final seconds of the trailer depict Oldman and Banderas in a Board
23   Room in front of a huge flat screen television projecting a still screen shot of the MF
24   logo as the two actors look at each other with astonishment, bearing “we’ve been outed”
25   expressions.
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             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 14 of 35 Page ID #:915




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10   The implications and innuendo converge to cast Plaintiffs in the light of mastermind
11   criminals whose crimes include, but are not limited to, murder, bribery, money
12   laundering and/or corruption. This is what the viewer will associate with Plaintiffs’
13   logo after seeing the film.
14         The trailer commentary sets the stage for a main theme that imputes criminal
15   activity to MOSSACK and FONSECA and their law-firm, in the film proper, which
16   unfolds a tale of the two lawyers entrenched in money laundering, tax evasion, and
17   other felonious crimes, implying they are co-conspirators and/or facilitators of crimes
18   committed by purported “clients,” with whom none of the Plaintiffs ever enjoyed an
19   attorney-client relationship. Failure to clarify the relationship between the Plaintiffs
20   and criminals forms a central basis for the defamatory innuendo and false light portrayal
21   of the two. The Defendant knows full well the Plaintiffs enjoyed no such relationship
22   with criminals, as does Mr. Bernstein who “thoroughly researched” his book. Clearly,
23   the Defendant also knows that the criminal activity depicted in the film does not “all go
24   back to this law firm Mossack Fonseca” as purposely suggested in the trailer, paving the
25   way for a viewing audience to believe that MOSSACK and FONSECA are at the
26   center of criminal activity and/or assisting clients who are involved in the same. The
27   Defendant conveniently ignores the fundamental distinction addressing the “client”
28   misnomer; namely, the “end user” distinction and facts that clearly demonstrate the
                                                  7
             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 15 of 35 Page ID #:916




 1   Plaintiffs never had “clients” in the manner imputed to them in the trailer/movie.
 2   Rather, their products were sold to banks, lawyers and other professionals. (SAC ¶
 3   123).
 4           In the course of the trailer and the film, the Defendant utilizes the Plaintiffs’
 5   already public, famous and/or notorious trademarked logo in disparaging ways.
 6   The trailer and movie incorporate a trademarked logo which is registered in Colombia
 7   and protected under the 1929 General Inter-American Convention for Trade Mark and
 8   Commercial Protection, a self-executing Treaty, wherein both Colombia and the United
 9   States are member States, and wherein member states are authorized to pursue
10   protection and infringement claims using the legal system in the member State of the
11   offending party. (Id. ¶¶ 123-124). Defendant’s trailer and movie utilize the logo
12   unnecessarily, placing it in scenes that allow the viewer to associate it with very serious
13   criminal and unethical behavior. In doing so, the Defendant infringes upon the
14   protected logo, disparaging and tarnishing the same for no necessary or colorable
15   artistic purpose, or other constitutional benefit of expression. The logo is used
16   approximately 8 times between the trailer and the movie proper, exposed on the side of
17   a building, on a client folder, twice behind a transparent door in an office, on a
18   background re-broadcast of a CNN news segment, and three times in scene
19   backgrounds projected on large screen televisions, including one instance lasting
20   approximately 30 seconds. (Id. ¶ 123).
21           Clearly, the Defendant used the logo in its trailer to attract moviegoers as well as
22   generate revenue and, in the movie, to benefit economically from the reality the logo
23   lends to the scenes; it brands the Plaintiffs and their businesses with criminality, instead
24   of sentiments of goodwill and professionalism that the logos are intended to conjure up.
25   Defendant’s use is not incidental. The manner in which the Defendant deploys the logo
26   produces a mental association in viewers that would be unsavory, damaging, and/or
27   unwelcomed by the Plaintiff owners of the logo. In this manner, the Defendant has
28   diluted and falsely advertised the logo. At the hands of the Defendant, the Plaintiffs are
                                                    8
              PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 16 of 35 Page ID #:917




 1   further catapulted to the status of poster children for offshore financial wrongdoings,
 2   money laundering and tax evasion, complete with a logo that the Defendant ensures will
 3   guarantee mental association with crime and corruption.
 4   III.   LAW AND ARGUMENT
 5          A.    Legal Standards
 6                i.     Standards upon 12(c) Motion for Judgment on Pleadings
 7          Judgment on the pleadings is generally evaluated upon the same legal standards
 8   as dismissal under Rule 12(b)(6) for failure to state a claim upon which relief can be
 9   granted.” (See e.g., Marrero v. Patterson, 2018 WL 4207261, at *3 (N.D. Cal. Sept. 4,
10   2018) (citing, 525 F. Supp. 2d 1158, 1160 (N.D. Cal. 2007)). In reviewing a motion to
11   dismiss for failure to state a claim, a court may only consider the complaint, documents
12   incorporated by reference in the complaint, and matters of judicial notice. (Fed. R. Civ.
13   P. 12(b)(6); Gonzalez v. Law Office of Allen Robert King, 195 F. Supp. 3d 1118 (C.D.
14   Cal. 2016)). “The question presented by a motion to dismiss is not whether the plaintiff
15   will prevail in the action, but whether the plaintiff is entitled to offer evidence in
16   support of its claim.” (See Kythera Biopharmaceuticals, Inc. v. Lithera, Inc., 998 F.
17   Supp. 2d 890, 896 (C.D. Cal. 2014) (citing Swierkiewicz v. Sorema N.A., 534 U.S. 506,
18   511 (2002); see also United States v. White, 893 F. Supp. 1423, 1429-30 (C.D. Cal.
19   1995) (stating “defendants have confused pleading with proof” and denying motion to
20   dismiss that was based in part on failure to allege adequate factual support for claims)).
21   At this early stage of the proceedings, Plaintiffs are not required to prove their claims.
22   Rather, Plaintiffs must only plead plausible facts in support of their pleadings.
23   Moreover, the motion is viable only where the moving party clearly establishes on the
24   face of the pleadings that no material issue of fact remains to be resolved, and that the
25   movant is entitled to judgment as a matter of law. (See Hal Roach Studios, Inc. v.
26   Richard Feiner & Co., 896 F.2d 1542, 1550 (9th Cir. 1989)).
27          Thus, “[t]he standard for judgment on the pleadings is stringent,” such that “[a]
28   motion for judgment on the pleadings should be denied unless it appears to a certainty
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             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 17 of 35 Page ID #:918




 1   that plaintiff is entitled to no relief under any state of facts which could be proved in
 2   support of his claim.” (See Mostowy v. United States, 966 F.2d 668, 672 (Fed. Cir.
 3   1992); Arc Ecology v. United States Dep't of the Air Force, 411 F.3d 1092, 1096 (9th
 4   Cir. 2005) (stating same, as to 12(b)(6) motion to dismiss); accord, Carson Harbor
 5   Village Ltd. v. City of Carson,37 F.3d 468, 472 (9th Cir. 1994)). “The stringent
 6   requirements for the granting of a rule 12(c) motion for judgment on the pleadings are
 7   wholly consistent with the general disfavor in which all motions for summary
 8   disposition of cases are treated in federal courts.” (See Cardio-Medical Associates, Ltd.
 9   v. Crozer-Chester Medical Center, 536 F. Supp. 1065, 1071 (E.D. Pa. 1982)).
10         Here, the Plaintiffs’ obligation is limited to providing a basis for being entitled to
11   relief, that goes beyond mere labels and “contain[s] sufficient factual matter, accepted
12   as true, to state a claim to relief that is plausible on its face.” (See Ashcroft v. Iqbal, 556
13   U.S. 662, 678 (2009); see also Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).
14   “A claim has facial plausibility when the plaintiff pleads factual content that allows the
15   court to draw the reasonable inference that the defendant is liable for the misconduct
16   alleged.” (Iqbal, 550 U.S. at 678; see also Spann v. J.C. Penney Corp., No. SA CV 12-
17   0215 FMO, 2015 WL 1526590, at *3 (C.D. Cal. Mar. 17, 2015) (denying motion to
18   dismiss)). Notably, the “plausibility” standard is not akin to a “probability
19   requirement.” (Iqbal, 556 U.S. at 678).
20         Mechanistically, a Court considering a motion pursuant to Rule 12(b)(6), must
21   accept as true all material allegations in the complaint, including all reasonable
22   inferences to be drawn therefrom, and construe the same in the light most favorable to
23   the non-moving party. (See Iqbal, 550 U.S. at 678; and also Nat’l Wildlife Fed’n v.
24   Espy, 45 F.3d 1337, 1340 (9th Cir. 1995)). Against this backdrop, the complaint does
25   not require detailed and specific factual allegations as long as it provides the defendant
26   with fair notice of the claim and the grounds upon which the claim rests. (Iqbal, 550
27   U.S. at 678; Twombly, 550 U.S. at 555; accord Kythera Biopharm., Inc. v. Lithera,
28   Inc., 998 F. Supp. 2d 890, 896 (C.D. Cal. 2014) (denying motion to dismiss trademark
                                                   10
             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 18 of 35 Page ID #:919




 1   claims); CYBERsitter, LLC v. Google Inc., 905 F. Supp. 2d 1080, 1085-86 (C.D. Cal.
 2   2012) (similarly denying motion to dismiss trademark claims)). Thus “a well-pleaded
 3   complaint may proceed even if it strikes a savvy judge that actual proof of those facts is
 4   improbable, and that a recovery is very remote and unlikely.” (Twombly, 550 U.S. at
 5   556).
 6           Importantly, since a Rule 12(c) motion is “functionally identical” to a Rule
 7   12(b)(6) motion to dismiss for failure to state a claim, leave to amend should be freely
 8   granted unless amendment would be futile. (See Pac. W. Group, Inc. v. Real Time
 9   Solutions, 321 Fed. Appx. 566, 569 (9th Cir. 2008) (quoting Dworkin v. Hustler
10   Magazine Inc., 867 F.2d 1188, 1192 (9th Cir. 1989)); Moran v. Peralta Cmty. Coll.
11   Dist., 825 F. Supp. 891, 893 (N.D. Cal. 1993)). Here, while the Plaintiffs were required
12   to amend their first Complaint in relation to Jurisdictional motions advanced by
13   Defendant in the District of Connecticut, the substantive allegations in Plaintiffs’ SAC
14   remained the same. The SAC, therefore, is the functional equivalent of an original or
15   first Complaint. Accordingly, in the event that this Court finds any claim to be
16   insufficiently pled, Plaintiffs would request leave to amend to address the insufficiency.
17           Notably, when ruling on a motion to dismiss, a court must normally convert a
18   motion to dismiss for failure to state a claim into one for summary judgment if the court
19   considers evidence outside of the pleadings; Rule 12(d) provides that, if this Court
20   decides to consider extrinsic materials it must then convert the pending motion to
21   a Rule 56 motion for summary judgment. Should the Court choose to do so,
22   however Rule 12(d) provides:
23
             If, on a motion under Rule 12(b)(6) or 12(c), matters outside the pleadings are
24           presented to and not excluded by the court, the motion must be treated as one
25           for summary judgment under Rule 56. All parties must be given a reasonable
             opportunity to present all the material that is pertinent to the motion.
26
27   In short, Rule 12(d) affords the non-moving party discovery to which they would
28   otherwise be entitled in opposing a Rule 56 motion. Of course, a court may grant
                                                  11
              PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 19 of 35 Page ID #:920




 1   a summary judgment motion only after the nonmoving party is afforded “adequate time
 2   for discovery.” (See Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986) (stating that a
 3   plain reading of Rule 56(c) mandates that the nonmoving party be given the opportunity
 4   to conduct a full range of discovery); see also, Nissan Fire & Marine Ins. Co. v. Fritz
 5   Cos., 210 F.3d 1099, 1105-1106 (9th Cir. Cal. 2000) (stating party “must have had
 6   sufficient time and opportunity for discovery”)).
 7         Lastly, Rule 12(c) cannot be used to circumvent the requirements and parameters
 8   governing defenses: “it cannot be used to assert Rule 12(b) defenses that have not been
 9   raised previously in the pleadings or by preliminary motion . . . . [or] they quite
10   appropriately will be deemed to have been waived by non-assertion in timely
11   fashion.” (See 5C Wright & Miller, Federal Practice and Procedure § 1367 (3rd ed.
12   2004) (emphases added)). Such a waiver alone would be sufficient to deny the motion
13   outright.
14                ii.    Defendant’s Memorandum Introduces Extrinsic Evidence
15         Here, Defendant introduces extrinsic evidence in the form of facts and opinions
16   interjected into its brief and/or advanced for the first time therein. In addition,
17   Defendant’s motion appears to broach defenses that were not pled in Defendant’s
18   Answer with respect to the Fourth and Fifth Counts of the SAC. And clearly,
19   Defendant’s memorandum attacks the insufficiency of Plaintiff’s allegations.
20                iii.   Plaintiffs Should Be Afforded Discovery and/or the SAC Can Be
21                       Amended to Address any Insufficiency in the Pleadings
           Plaintiffs respectfully submit that if this Court follows Rule 12(c) standard,
22
     disregards all extrinsic evidence and/opinion interjected by the Defendant, and takes all
23
     of the SAC’s allegations as true including reasonable inferences stemming therefrom,
24
     and construing the same in the light most favorable to the Plaintiffs, the Defendant’s
25
     motion should be denied. If, however, the Court intends to consider any extrinsic
26
     evidence interjected by the Defendant, including facts and opinions emanating from
27
     Defendant’s brief and/or elsewhere by reference, the Defendant’s motion must be
28

                                                  12
             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 20 of 35 Page ID #:921




 1   examined as and/or converted to a Rule 56 Summary Judgment Motion, and Plaintiffs
 2   must be afforded a full range of discovery under the FRCP, with an opportunity
 3   thereafter to present this Court with a more fully developed response.
 4         And while not conceding the same here, any insufficiency in pleadings
 5   recognized by this Court is remediable by way of amendment. The standard for
 6   granting leave to amend is generous.” (See United States v. Corinthian Colleges, 655
 7   F.3d 984, 995 (9th Cir. 2011) (reversing trial court’s denial of request to amend
 8   complaint)). Dismissal without leave to amend is appropriate only when the court is
 9   satisfied that the deficiencies in the complaint could not possibly be cured by
10   amendment. (See Tatung Co. v. Shu Tze Hsu, 43 F. Supp. 3d 1036, 1058 (C.D. Cal.
11   2014) (allowing amendment)).
12         B.     Claims in Count IV and V are Properly Pled
13                i.        Plaintiffs Can Establish Trademark Dilution Alleged in Count
14                          Four

15                     (a) Elements of Dilution by Tarnishment
16
           In order to prove a violation under trademark dilution law, a plaintiff must show
17
     that: “(1) the mark is famous and distinctive; (2) the defendant is making use of the
18
     mark in commerce; (3) the defendant’s use began after the mark became famous; and
19
     (4) defendant’s use of the mark is likely to cause dilution by blurring or dilution by
20
     tarnishment.” (See Jada Toys, Inc. v. Mattel, Inc., 518 F.3d 628, 634 (9th Cir.
21
     2008)(emphasis added)). Federal law does not require a likelihood of confusion to
22
     succeed on a dilution claim. (See Nissan Motor Co. v. Nissan Computer Corp., 378
23
     F.3d 1002, 1011 (9th Cir. 2004); see also Levi Strauss & Co. Abercrombie & Fitch
24
     Trading Co., 633 F.3d 1158, 1172 (9th Cir. 2011) (marks need not be identical for
25
     dilution to occur)).
26
           None of these elements are disputable except the “famousness” element, which is
27
     addressed infra. MFSA’s logo is protected under the Lanham Act because the Act
28

                                                  13
             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 21 of 35 Page ID #:922




 1   incorporates the 1929 General Inter-American Convention for Trade Mark and
 2   Commercial Protection. Proof of the logo’s use is satisfied by NETFLIX’s display of
 3   the same in its movie, no less than eight (8) times. The mark was used in commerce in
 4   connection with the sale and advertising of goods, in that it was displayed in NETLIX’s
 5   trailer to attract moviegoers. It was also used in the movie proper. It has been aired at
 6   two film festivals, and was streamed into the homes of millions of NETFLIX
 7   subscribers beginning on October 18, 2019. The logo was previously used exclusively
 8   by MFSA in commerce, upon marketing materials, documents, client development
 9   gifts, and on website(s) used by MFSA.1 MFGROUP has expended many thousands
10   of dollars developing its logo, branding its service, and using the logo, over many years.
11   It belonged to a very successful and dominant force in the offshore legal-service
12   industry, and has been seen by thousands of people worldwide on products, at seminars,
13   the firm’s website, and on the side of an office building in Panama City. Additionally,
14   MFGROUP has branded items and promotional materials used throughout the world in
15   marketing services and developing its brand, in offices in Latin America, the United
16   Kingdom and the United States. The mark clearly has been used by MFSA before
17   NETFLIX’s junior infringing use began. Notably, the same has all been alleged clearly
18   and sufficiently in the Plaintiffs’ Complaint. (See e.g., SAC ¶¶ 5-7, 11, 19, 34-48, 75,
19   83, 107, 112, 121-127, 169-79, and 184).
20            The gravamen of NETFLIX’s use of the protected logo, is primarily the negative
21   association and resultant loss of goodwill and reputational harm occasioned by the
22   unpermitted use. This is a legally cognizable claim know as dilution by “tarnishment.”
23   Under § 1125(c)(2)(c) tarnishment is the "association arising from the similarity
24   between a mark or trade name and a famous mark that harms the reputation of the
25   famous mark."' (Id.) The Ninth Circuit has stated that dilution by tarnishment occurs
26   when the mark is linked "with something unsavory or degrading." (See Toho Co. v.
27
28   1
         Ventura Affidavit at ¶ 22.
                                                   14
               PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 22 of 35 Page ID #:923




 1   Sears, Roebuck & Co., 645 F.2d 788, 790, 793 (9th Cir. 1981) (refusing Plaintiff’s
 2   tarnishment claim where Sears’ use of the "Bagzilla" mark on "Monstrously Strong"
 3   garbage bags failed to tarnish the "Godzilla" mark absent linking the same with
 4   something “unsavory” and/ or “degrading")).
 5           When criminal activity, including money laundering, tax evasion, insurance and
 6   wire fraud, and bribery, are being attributed to MOSSACK and FONSECA in a movie
 7   called the “The Laundromat” or “La Lavandería,” it is difficult to deny anything less
 8   than an “unsavory,” or “degrading” association with the mark. This is especially
 9   apparent at one point when the mark is being broadcasted behind MOSSACK and
10   FONSECA (trademark namesakes whose real names are also being used in the film)
11   for 30 seconds in a movie intimating a message that crimes including money
12   laundering, bribery and corruption “all go back to this law firm Mossack Fonseca.” The
13   logo is as much defamed as MFGROUP, and viewers are likely to associate the logo
14   not with the existing goodwill generated by MFGROUP’s efforts in marketing and
15   branding, but with the criminal accusations heralded in the Defendant’s movie.
16           The only real basis for challenge on the elements by the Defendant is the extent
17   to which the logo is “famous” and clearly, in ignoring the effect of the Plaintiffs’
18   enforcement rights under the Treaty, the Defendant has given short shrift to an element
19   that is tamed by the case law in the Ninth Circuit in a manner that makes a factual
20   inquiry necessary. The “famousness” element is arguably not ripe for determination as
21   a matter of law, via Judgment on the Pleadings.
22                 (b) Inter American Convention; Foreign Marks and “famousness”
23           MFSA owns a registered trademark in Colombia, protected under the 1929
24   General Inter-American Convention for Trade Mark and Commercial Protection
25   (hereinafter the “Convention).2 As a Southern District Court in New York
26
27   2
         See SAC ¶ 36 & Affidavit of Arthur Ventura Jr. ¶ 22.
28

                                                   15
               PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 23 of 35 Page ID #:924




 1   acknowledged: “[t]he Inter-American Convention, is a self-executing treaty, and thus it
 2   became law in the United States without the necessity for implementing legislation.”
 3   (See Havana Club Holding, S.A. v. Galleon, S.A., 62 F. Supp. 2d 1085, 1092 (S.D.N.Y.
 4   1999)), cert. denied, Havana Club Holding, S.A. v. Bacardi & Co., 531 U.S. 918 (2000)
 5   (citing Bacardi Corp. of America v. Domenech, 311 U.S.150, 161 (1940)). The Trade
 6   Mark Trial and Appeal Board further noted that while it had the same force of federal
 7   law, it was actually independent of the Lanham Act. (See British-American Tobacco
 8   Co. Ltd. v. Philip Morris Inc., 55 U.S.P.Q.2d 1585, 2000 WL 1005433 (T.T.A.B.
 9   2000)). Notably, both Colombia and the United States of America are Member States
10   under the Treaty, thus both are authorized to pursue protection and infringement claims
11   using the legal systems in the Member State of the offending party.
12         Article 7 of the 1929 General Inter-American Convention for Trade Mark and
13   Commercial Protection states in relevant part:
14         Any owner of mark protected in one of the Contracting States in accordance with
15         its domestic law, who may know that some other person is using . . . an
           interfering mark in any other of the Contracting States, shall have the right to
16         oppose such use . . . and shall have the right to employ all legal means,
17         procedure or recourse provided in the country in which such interfering mark is
           being used . . . and upon proof that the person who is using such mark . . . had
18         knowledge of the existence and continuous use in any of the Contracting States
19         of the mark on which opposition is based upon goods of the same class the
           opposer may claim for himself the preferential right to use such mark in the
20         country where the opposition is made . . . upon compliance with the requirements
21         established by the domestic legislation in such country and by this Convention.

22   (Id.) Thus, a showing of (1) ownership and (2) proof that the junior user of the logo
23   knew of the existence and continuous use of the mark in “any” contracting State, would
24   allow the owner preferential rights of use “in the country,” and permit the owner all
25   “legal means, procedure or recourse” to protect and enforce the same. NETLIX clearly
26   knew that the Plaintiffs previously and continuously used their the logo, and in an effort
27   to compliment a false message with an attribute of reality, it used the international mark
28   in its unaltered form as a backdrop to scenes in the film wherein MOSSACK and
                                                 16
             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 24 of 35 Page ID #:925




 1   FONSECA are defamed and cast in the false light of criminality.
 2         The language in the Lanham Act appears to grant Member State Plaintiffs rights
 3   eve more extensive than U.S. law would otherwise provide, where necessary. For
 4   example, Section 44 (b) of the Lanham Act provides:
 5         Any person whose country of origin is a party to any convention or treaty relating
 6         to trademarks, trade or commercial names, or the repression of unfair
           competition, to which the United States is also a party, or extends reciprocal
 7         rights to nationals of the United States by law, shall be entitled to the benefits of
 8         this section under the conditions expressed herein to the extent necessary to give
           effect to any provision of such convention, treaty or reciprocal law, in addition to
 9         the rights to which any owner of a mark is otherwise entitled by this chapter.
10   15 U.S.C. § 1126 (2000) (addressing international conventions and foreign mark
11   registration in the U.S.)).
12         As noted above, Defendant’s analysis of Plaintiffs’ Trademark claims does not
13   address the Treaty; conveniently, the self-executing law is glossed over in favor of the
14   more restrictive Lanham Act element of “famousness.” The rights granted to Foreign
15   mark holders under the Treaty and the Lanham Act read together, is conveniently and
16   completely ignored by Defendant. Notably, however, the elusive and rarely attainable
17   element of “famousness” may not be required for Plaintiffs to sustain their Trademark
18   Infringement claim as Treaty Members. Interestingly, California federal Courts appear
19   to acknowledge the same.
20         In the Ninth Circuit, the “well known” exception to the “famousness” element
21   was acknowledged in a Los Angeles case, where a Mexican Grocery Store chain sought
22   to protect its mark from being exploited by an unrelated U.S. entity in Southern
23   California. (See Grupo Gigante SA De CV v. Dallo & Co., Inc., 391 F.3d 1088, 1108
24   (9th Cir. 2004)). The Court found that federal law recognized an exception to the
25   normal famousness/territorial rule. In holding the same the Court stated:
26         We hold … that there is a famous mark exception to the territoriality principle.
27         While the territoriality principle is a long-standing and important doctrine within
           trademark law, it cannot be absolute. An absolute territoriality rule without a
28         famous mark exception would promote consumer confusion and fraud.
                                                 17
             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 25 of 35 Page ID #:926




 1         Commerce crosses borders. In this nation of immigrants, so do people.
           Trademark is, at its core, about protecting against consumer confusion and
 2         “palming off.” There can be no justification for using trademark law to fool
 3         immigrants into thinking that they are buying from the store they liked back
           home.
 4
     (Id. at 1094). Likewise, there is no reason to fool the general public into believing that
 5
     MOSSACK and FONSECA are criminals and that their law firms were simply
 6
     repositories for laundered money and crime.
 7
           Unlike the District Court in Los Angeles, the Ninth Circuit held that while Grupo
 8
     Gigante was sufficiently well known in Southern California, and its mark had a possible
 9
     “secondary meaning,” this level of notoriety was insufficient. The Court stated that the
10
     requisite level of notoriety for mark recognition was familiarity and knowledge by a
11
     “substantial percentage” of people in the appropriate American market; essentially, it
12
     had to boast an “intermediate” level of familiarity that was greater than “secondary
13
     meaning,” but not as demanding as the “famousness” requirement under the Lanham
14
     Act. (Id. at 1106).
15
           Notably, the Ninth Circuit held that in deciding whether a mark met the “well
16
     known” threshold, a court could consider “intentional copying” and whether confusion
17
     about products or services being bought from an affiliate of the foreign owner was
18
     likely. On the first consideration, the logo clearly didn’t get into the Defendant’s film
19
     by accident and there can be little doubt that NETFLIX’s copying was “intentional.”
20
     On the second consideration (Translated into Dilution by Tarnishment lexicon), the
21
     question is whether a viewer would be confused about the nature of MFGROUP’s
22
     services—are they a law firm of world leaders in the offshore company creation
23
     business or are they the criminals that NETFLIX portrays them as either directly and/or
24
     by innuendo? Ultimately, the Plaintiffs’ position is that NETFLIX’s use of the mark
25
     generates a confusion for viewers both as to whether or not the Plaintiffs have
26
     sponsored or approved the message of the film, and as to whether the Plaintiffs are
27
     offshore legal experts or outright criminals engaged in money laundering and financial
28

                                                 18
             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 26 of 35 Page ID #:927




 1   crimes.
 2         The intentionality and/or confusion considerations prescribed by the Ninth
 3   Circuit both require factual inquiries and determination of the same at a summary
 4   juncture is not appropriate. In fact, the appellate court in Giante, supra, actually
 5   remanded the case to the District court for factual findings related to establishing a
 6   “well known” mark claim. In short, the issue of how “well known” MFGROUP’s
 7   mark is, turns on factual inquiries and not determinations as a “matter of law”
 8   ascertainable from pleadings alone; more discovery and evidence extrinsic to the
 9   pleadings would be required.
10         Consequently, the Defendant’s motion to strike the FOURTH COUNT of the
11   SAC should be denied and/or the Court should order discovery and revisit the claim if
12   the Defendant’s advance a Rule 56 Summary Judgment motion.
13                 (c) Defendant’s other Trademark Defenses Are Untenable
14                     1. Disclaimer Is Insufficient and Used Inconsistently
15         Defendants argue that its “disclaimer” can cure its otherwise defamatory
16   statements and/or innuendo. The disclaimer cited by the Defendant (Def’s Brief. p. 4)
17   (identified as appearing at the 1 hour, 34 minute, 25 second mark of the movie) states:
18         While the motion picture is inspired by actual events and persons, certain
19         characters, incidents, locations, dialogue, and names are fictionalized for the
           purpose of dramatization. As to any such fictionalization, any similarity to the
20         name or to the actual character or history of any person, living or dead, or actual
21         incident is entirely for dramatic purposes and not intended to reflect on any actual
           character or history.
22
     Clearly its disclaimer does not specifically state that the MOSSACK and FONSECA
23
     characters in the film are not criminals and have not been convicted of any crime
24
     alleged by implication/innuendo in the trailer and/or movie. It certainly doesn’t say that
25
     the movie has not been prepared, approved, or licensed by Plaintiffs. The type of
26
     disclaimer used by the Defendant is insufficient to reduce disparagement and/or
27
     confusion as to authorization or source, and on that basis it cannot be used as a defense
28

                                                   19
               PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 27 of 35 Page ID #:928




 1   to infringement. By the time it surfaces in the movie, the innuendo cat has been out of
 2   the bag for an hour and a half; this is a significant time for a viewer to be bombarded
 3   with false accusations about the Plaintiffs. Moreover the disclaimer is used
 4   inconsistently. It doesn’t appear in a trailer that alleges the film is based on some “real
 5   shit,” which is incommensurate with Defendant’s characterization of the MOSSACK
 6   and FONSECA characters as fictional and farcical components of a straight-forward
 7   satire. Nothing could be further from the truth. Notably, where disclaimers are not
 8   employed consistently, in all advertising and promotional materials, “the effectiveness
 9   ... is undercut by [] contradictory messages.” (See Au-Tomotive Gold, Inc. v.
10   Volkswagen of America, Inc., 457 F.3d 1062, 1077 (9th Cir. 2006) (finding disclaimers
11   ineffective where products were sold on a website that was not consistent with the
12   disclaimers); see also Toho, 33 F. Supp. 2d at 1213 (noting that internet advertising did
13   not employ the disclaimer in question, and granting preliminary injunction)).
14                      2. Defendants are Using Plaintiffs’ Logo as a Trademark
15         It is unclear how the Defendant means to assert “non-trademark use.” Further it
16   is not pled in the Defendant’s answer. At a minimum, the Plaintiffs adequately plead
17   dilution, and their trademark claims should not be resolved by way of motion to
18   dismiss.
19         Without conceding the Defendant’s argument is appropriate here, it is clear that
20   Defendant uses the logo as a trademark, and Defendant cannot escape Plaintiffs’
21   dilution claim on account of “non-trademark” use, even if the same were pled in the
22   Defendant’s Answer.
23         The analysis is straightforward; the TDRA provides for relief where a person
24   “commences use of a mark or trade name in commerce that is likely to cause
25   dilution.” 15 U.S.C. § 1125(c)(1) (emphasis added). Pursuant to 15 U.S.C. § 1127,
26   “[t]he term ‘mark’ includes any trademark, service mark, collective mark, or
27   certification mark.” Dilution by tarnishment is one type of dilution; it involves damage
28   to reputation and good will. Under § 1125(c)(2)(c) tarnishment is the "association
                                                    20
                PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 28 of 35 Page ID #:929




 1   arising from the similarity between a mark or trade name and a famous mark that harms
 2   the reputation of the famous mark." (Id.). The Ninth Circuit has stated that dilution by
 3   tarnishment occurs when the mark is linked "with something unsavory or degrading."
 4   (See Toho Co. v. Sears, Roebuck & Co., 645 F.2d 788, 790, 793 (9th Cir. 1981)
 5   (refusing Plaintiff’s tarnishment claim where Sears’ use of the "Bagzilla" mark on
 6   "Monstrously Strong" garbage bags failed to tarnish the "Godzilla" mark absent linking
 7   the same with something “unsavory” and/ or “degrading")). Tarnishment occurs when
 8   a famous mark is used for poor quality products or services or is used in a manner
 9   which is unwholesome or demeans the character of the trademark owner. (See
10   Panavision Int'l L.P. v. Toeppen, 141 F.3d 1316, 1326 n.7 (9th Cir.1998)). Associating
11   the mark with unsavory sentiment and degrading the mark by implicating it with
12   criminal activity, including money laundering, tax evasion, insurance and wire fraud,
13   and bribery, is commencing use “likely to cause dilution,” and to demean the character
14   of the trademark owner.
15                   3. “Non-Commercial” Use Is not Raised in the Defendant’s Answer
16         Defendant’s argument that use of the Plaintiffs’ logo in its movie constitutes
17   “non-commercial use” is not pled in the Answer to the SAC, and should not be
18   considered here. At a minimum, the Plaintiffs adequately plead dilution and their
19   trademark claims and the same should not be resolved by way of motion to dismiss.
20   Therefore, Defendant’s non-commercial use argument should not be considered, and
21   should not form the basis of a summary decision under Rule 12(c), least of all prior to
22   discovery.
23                   4. Defendant’s “Road Kill” Theory of Damages Is not Rooted in
24                      Reality

25         Plaintiff’s do not admit that their mark is already tarnished beyond repair, as
26   suggested by the Defendant; NETLIX argues that a host of factual assertions about the
27   effect of the Panama Papers hack and release, amounts to an admission that the
28   Plaintiffs’ mark is so thoroughly damaged that it cannot be damaged any further. (See
                                                 21
             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 29 of 35 Page ID #:930




 1   Def’s Brief at p. 10). At best this is an opinion, albeit an erroneous one, based upon
 2   SAC allegations cited in support of the claim. Certainly, the Court cannot conclude the
 3   same, as a “matter of law.” Moreover, the Defendant deploys faulty assumptions and a
 4   disconnection from reality in asserting its “road kill” theory. When something is
 5   damaged most people try and fix it; the same holds true for personal and business
 6   reputations. They are not forever damaged, simply because they suffer damage at some
 7   point; moreover, permanent and irrecoverable damage is a question of fact and/or
 8   opinion.
 9         The “road kill” argument misses the point that people can resurrect their
10   reputations and their businesses after being defamed. In fact, it would be natural to do
11   so. Even where business reputations and/or goodwill have been damaged in the past,
12   the owners of the same are entitled to protect against complete obliteration and/or
13   salvage what might otherwise remain. For example, permanent loss of clientele
14   occasioned by damage to goodwill, is something MFGROUP is entitled to guard
15   against. (See e.g., Fairfield County Medical Assoc., v. United Healthcare of New
16   England, 985 F. Supp. 2d 262 (D. Conn. 2013) (citing Multi–Channel TV Cable Co. v.
17   Charlottesville Quality Cable Operating Co., 22 F.3d 546 (4th Cir. 1994) (citing
18   protection against permanent loss of customers due to the loss of goodwill) (emphasis
19   added), and Planned Parenthood of Minnesota, Inc. v. Citizens for Community Action,
20   558 F.2d 861, 867 (8th Cir. 1977) (same)). Thus, the Plaintiffs have interests not only
21   in preventing loss of customers, but “permanent” loss of customers due to loss of
22   goodwill and/or unsavory association with their trademarked logo.
23         On the heels of an acquittal or if allegations are otherwise shown to be false in
24   future, MFGROUP would certainly be entitled to “pick up the pieces,” based upon
25   previous misperceptions and/or their innocence coming to light. NETFLIX’s movie
26   places unnecessary and unwarranted burdens upon MFGROUP’s future business
27   opportunities and ability to prevent permanent loss of goodwill and clientele, by
28   generating unsavory associations with its logo. Here, the SAC sufficiently sets forth the
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                PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 30 of 35 Page ID #:931




 1   reputational and other damages/harms suffered by Plaintiffs due to trademark dilution.
 2   Defendant’s postulation of unrecoverable reputations either as persons, or as applied to
 3   Plaintiffs’ mark and its goodwill, is absurd.
 4
 5                ii.      Plaintiffs Can Prevail on their Federal False Advertising Claim
 6                      (a) Elements of Plaintiffs’ False Advertising Claim are Established
 7         The elements of a false advertising claim under the Lanham Act, 15 U.S.C. §
 8   1125(a) are: (1) a false statement of fact by the defendant in a
 9   commercial advertisement about its own or another's product; (2) the statement actually
10   deceived or has the tendency to deceive a substantial segment of its audience; (3) the
11   deception is material, in that it is likely to influence the purchasing decision; (4) the
12   defendant caused its false statement to enter interstate commerce; and (5) the plaintiff
13   has been or is likely to be injured as a result. To be sure, the Plaintiffs have sufficiently
14   alleged facts in support of all elements in the SAC, including all of the allegations
15   pertaining to Libel, Libel Per Se, and False Light, and including, but not limited,
16   specific allegations about logo use and value. (See SAC generally, and ¶¶ 5-7, 11, 19,
17   34-48, 75, 83, 107, 112, 121-127, 169-79,b184 (referring specifically to logos and
18   trademarks)).
19         The trademark and statements are contained in the trailer, which is clearly an
20   advertisement designed to attract viewers. The fact that NETFLIX portrays the
21   Plaintiffs as criminals and/or in the false light of criminality in the provision of their
22   services as overseas lawyers, at a minimum, establishes element number (1). If
23   believed, and as alleged in the SAC, the statements will deceive the viewing audience
24   into believing that the Plaintiffs are criminals and/or involved in criminal activities
25   themselves and/or in conjunction with clients they serve. Thus, element (2), for these
26   and other reasons is established. If believed, and as alleged in the SAC, the viewing
27   audience would not be inclined to engage the services of MFGROUP as they are
28   portrayed in the trailer and the movie. Therefore, for these and other reasons, element
                                                   23
             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 31 of 35 Page ID #:932




 1   (3) is established. As alleged, and admitted by the Defendant, the trailer and movie
 2   have been streamed on the internet and on Defendant’s own platform to millions of
 3   subscribers. For these and other reasons, element (4) requiring the causing of
 4   statements to enter the stream of commerce appears uncontestable. Lastly, element (5)
 5   referring to likely injury has been met by the allegations in the SAC.
 6         Certainly, the question of whether all elements are met may be subject to
 7   disagreement between the parties, however, this would only justify the denial of
 8   Defendant’s motion at this summary stage in favor of permitting the Court to consider
 9   extrinsic evidence and/or facts developed in discovery. Clearly the Defendant disagrees
10   that the Plaintiffs assert a colorable False Advertising claim, however, they do not
11   straight forwardly address the elements, in favor of a First Amendment challenge to the
12   Plaintiffs claims.
13                    (b) Defendant’s Rogers Argument Is Unavailing
14         The First Amendment must be reconciled with intellectual property rights
15   asserted in the context of Lanham Act claims, and the current body of case law
16   governing this reconciliation offers no easy analyses. If it were as easy as citing one
17   case, or one proposition, one might quote the Supreme Court of the United States
18   opining that “there can be no constitutional objection to the suppression of commercial
19   messages that do not accurately inform the public,” and the government may even ban
20   “forms of communication more likely to deceive the public than inform it.” (See
21   Central Hudson Gas & Elec. Corp. v. Public Serv. Comm'n of N.Y., 447 U.S. 557, 562-
22   63, 100 S. Ct. 2343, 65 L. Ed. 2d 341 (1980)). But the analysis is not that simple,
23   especially in what might be characterized as a body of trademark related case law that
24   could use some clarification. The Defendant clearly believes and argues that First
25   Amendment interests outweigh the Lanham Act trademark rights active in the
26   Plaintiffs’ False Advertising claims.
27         In support of its First Amendment argument, Defendant cites Rogers v.
28   Grimaldi, 875 F.2d 994, 999 (2d Cir. 1989) (“hereinafter “Rogers”), as the basis for
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             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 32 of 35 Page ID #:933




 1   Plaintiffs’ inability to prevail on their Federal False Advertising claim. Upon closer
 2   scrutiny, however, it appears that Rogers may not be as controlling as the Defendant
 3   asserts. Certainly, Rogers does not stand for the proposition that the First Amendment
 4   automatically trumps trademark rights; rather, it is meant to embody a balancing act
 5   between the public interest in artistic work and the public interest in avoiding consumer
 6   confusion. (See Gordon v. Drape Creative, Inc., 897 F.3d 1184, 1190 (9th Cir. 2018)).
 7   Rogers was a “title” case, and did not involve dilution by tarnishment or an extensive
 8   review of a Lanham Act False advertising claims related to trademark placement in a
 9   movie. Clearly, a different analysis is warranted where the focus is shifted from the
10   “title” of a movie, to multiple placements of a protected Foreign trademark in a film
11   that defames the mark owners directly and/or by innuendo, by portraying them as
12   criminals. Logically, the balancing implicit in Rogers on this score can and should be
13   extended to include weighing public interest in a movie’s message against the danger
14   that the use of the trademarked logo will cause an “unsavory” or “negative” association
15   with the products and/or services of the senior user. The manner in which the balancing
16   ought to take place is the subject of Ninth Circuit and other decisions.
17         The Ninth Circuit held in Gordon that “the use of a mark alone may explicitly
18   mislead consumers about a product’s source if consumers would ordinarily identify the
19   source by the mark itself.” (See Gordon v. Drape Creative, Inc., 909 F.3d 257, 270 (9th
20   Cir. 2018)). In remanding the case to the Trial Court, the Ninth Circuit noted that the
21   defendant’s use would be “explicitly misleading,” if a jury could find the defendant
22   “simply used Gordon’s mark with minimal artistic expression of their own, and used it
23   in the same way that Gordon was using it.” (Id. at 271). Gordon signals a move away
24   from the Rogers test. In a case examining Gordon’s import, in determining whether to
25   follow Rogers' two prong test, the District Court in Stouffer agreed that the Lanham Act
26   required a limiting construction to protect First Amendment interests, but it also noted
27   that Gordon was “correct to at least suspect non-artistic motives where the junior user
28   uses the mark in the same channels, and in basically the same way, as the senior
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             PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 33 of 35 Page ID #:934




 1   user.” (See Stouffer v. Nat’l Geographic Partners, et. al., 400 F. Supp. 3d 1161, 1179
 2   (D. Colo. 2019) (emphasis in original)). That Court, relying upon and referring to
 3   Gordon and a Sixth Circuit case, Parks v LaFace Records, 329 F. 3d 437 (6th Cir.
 4   2003), stated that both cases were examples of courts “struggling to assimilate
 5   unanticipated factual patterns into the Rogers test—[ones] that raise legitimate concerns
 6   about whether Rogers tilts too far in favor of the junior user’s First Amendment
 7   interests.” (See Stouffer, 400 F. Supp. 3d. at 1173-74, 1176-77 & 1178-79 (D. Colo.
 8   2019)).
 9         In following and relying upon the ratio in Gordon, the Stouffer Court declared
10   that the key question was whether the junior user had a “genuine artistic motive” for
11   using the mark. The answer, the Court noted, requires a determination of the junior
12   user’s motives, using a series of questions including: (1) whether the senior and junior
13   users use the mark to identify the same kind, or a similar kind, of goods or services, (2)
14   what extent the junior user ‘added his or her own expressive content to the work beyond
15   the mark itself,’ (3) whether the timing of the junior user’s use suggests a motive to
16   capitalize on popularity of the senior user’s mark, (4) the way in which the mark is
17   artistically related to the underlying work, service, or product, (5) whether the junior
18   user made public statements or engaged in any conduct known to the public suggesting
19   a non-artistic motive, and (6) whether the junior user made any private statement or
20   engaged in any private conduct suggesting a non-artistic motive. (Id. at 34-36). Suffice
21   it to say, the analysis is somewhat more demanding than the minimal “artistic
22   relevance” prong in Rogers. And, notably, although artistic relevance is a factor, it does
23   not rise to the level of a “threshold inquiry.” The logic is persuasive, since the
24   traditional threshold inquiry fails to fully account for artistic choices. The Stouffer
25   Court acknowledged that assessing the artistic motive is subjective, but it could
26   nonetheless safeguard First Amendment interests.
27         Here, in a limited analysis, the Plaintiff adopts the position that the Gordon-
28   Stouffer progeny is applicable, and this Court ought not to be bound by the Rogers test
                                                   26
               PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 34 of 35 Page ID #:935




 1   as espoused by the Defendant. Notably, the Court should consider, among the Stouffer
 2   factors, that there is really little or no “genuine artistic motive” in Defendant’s logo use.
 3   To whatever extent the same might be characterized as such, the Defendant’s First
 4   Amendment considerations are insufficient to outweigh the Plaintiffs Trademark related
 5   claim. The Plaintiffs use the mark to enhance their brand and associate services with
 6   professionalism and a worldwide reputation as leaders in the offshore company
 7   formation industry. On the other hand, NETFLIX uses the mark to lend some reality to
 8   their false message that Plaintiffs are criminals and, in the process, it stains the logo and
 9   associates it with senior users in an unsavory way. The movie and the trailer come at a
10   time when the Plaintiffs are attempting to resolve and demonstrate their innocence in
11   criminal cases/investigations both in Panama and the United States. At a minimum, the
12   Defendant was aware of the Panama cases. The timing is significant. Clearly, the only
13   reason to use the logo is to capitalize financially; the mark is deployed to give the
14   movie an aspect of reality in connection with false and defamatory statements it makes
15   about the Plaintiffs being involved in criminal activity. This effort is geared toward
16   attracting viewers to the prospect of learning about offshore culture and crimes based
17   upon a true story (“based on some real shit”) versus a simply fictional tale. The problem
18   is that the story that unfolds contains a false message about the Plaintiffs, and the
19   artistic value in Defendant’s use of the logo is miniscule. Clearly, the message of the
20   movie, albeit defamatory toward the Plaintiffs, would not be affected by leaving the
21   logo out of the scenes in which it appears.
22           To the extent that Gordon and its explanation in Stouffer are properly considered
23   by this Court, a decision as to the validity of Plaintiffs’ Lanham Act False Advertising
24   claims cannot be made as a matter of law, and should not be disposed of in the context
25   of a summary motion. Likewise, even under a Rogers analysis alone, this Court should
26   deny the Defendant’s motion at this summary stage. For these reasons, and others that
27   would further clarify after discovery, the Defendant’s First Amendment position must
28   fail.
                                                   27
              PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
Case 2:19-cv-09330-CBM-AS Document 65 Filed 07/12/20 Page 35 of 35 Page ID #:936




 1   III.   CONCLUSION
 2          Plaintiffs have adequately pled their Fourth and Fifth Counts. Defendant’s
 3   motion pursuant to FRCP 12(c) should be denied, or in the alternative, stayed pending
 4   further discovery pursuant to this Court’s order, and to whatever extent required and/or
 5   necessary, the Court should afford the Plaintiff an opportunity to amend its pleadings at
 6   this early stage.
 7   DATED: July 12, 2020             Law Offices of Richard G. Novak
 8
 9                                              By: /s/ Richard G. Novak
10                                                  RICHARD G. NOVAK
                                                    Attorneys for Plaintiffs
11                                                  MOSSACK FONSECA CO., S.A.,
                                                    BUFFET MF & CO; JÜRGEN
12                                                  MOSSACK; RAMÓN FONSECA
13
     DATED: July 12, 2020                    Law Offices Stephen J. Carriero
14
15                                              By: /s/ Stephan Seeger
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18                                                   MOSSACK; RAMÓN FONSECA
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              PLAINTIFFS’ OPPOSITION TO DEFENDANT'S MOTION FOR JUDGMENT ON THE PLEADINGS
